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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                               TALLAHASSEE DIVISION



UNITED STATES OF AMERICA

v.                                                       CASES NO. 4:10cr70-RH/CAS
                                                                   4:12cv424-RH/CAS
MARCUS KNIGHT,

                  Defendant.

________________________________/


                           ORDER DENYING THE § 2255 MOTION


         The defendant has moved under 28 U.S.C. § 2255 for relief from his

judgment of conviction. The motion is before the court on the magistrate judge’s

report and recommendation, ECF No. 155. No objections have been filed. This

order accepts the report and recommendation and adopts it as the court’s opinion.

         A defendant may appeal the denial of a § 2255 motion only if the district

court or court of appeals issues a certificate of appealability. Under 28 U.S.C.

§ 2253(c)(2), a certificate of appealability may issue “only if the applicant has

made a substantial showing of the denial of a constitutional right.” Miller-El v.

Cockrell, 537 U.S. 322, 335-38 (2003); Slack v. McDaniel, 529 U.S. 473, 483-84

(2000); Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983); see also Williams v.



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Taylor, 529 U.S. 362, 402-13 (2000) (setting out the standards applicable to a

§ 2254 petition on the merits). As the Court said in Slack:

         To obtain a COA under § 2253(c), a habeas prisoner must make a
         substantial showing of the denial of a constitutional right, a
         demonstration that, under Barefoot, includes showing that reasonable
         jurists could debate whether (or, for that matter, agree that) the
         petition should have been resolved in a different manner or that the
         issues presented were “adequate to deserve encouragement to proceed
         further.”

529 U.S. at 483-84 (quoting Barefoot, 463 U.S. at 893 n.4). Further, in order to

obtain a certificate of appealability when dismissal is based on procedural grounds,

a petitioner must show, “at least, that jurists of reason would find it debatable

whether the petition states a valid claim of the denial of a constitutional right and

that jurists of reason would find it debatable whether the district court was correct

in its procedural ruling.” Id. at 484.

         The defendant has not made the required showing. This order thus denies a

certificate of appealability.

         For these reasons,

         IT IS ORDERED:

         1. The clerk must enter a judgment stating, “The defendant’s motion for




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relief under 28 U.S.C. § 2255 is DENIED.

         2. A certificate of appealability is DENIED.

         SO ORDERED on May 9, 2015.

                                                         s/Robert L. Hinkle
                                                         United States District Judge




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